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Attomeys for Plaintiffs Estate c`)f Robert
Graham; Chuck Close; Laddie John Dill
and AH Others Similarly Situated

 

 

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION

ESTATE 011 ROBERT GRAHAM;
CHUCK CLOSE- LAJ:)DIB JOHN
DILL; individualiy and on behalf Of an

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others Similarly Sltuated,
Plaintiffs,
vs.

SOTHEBY’S, INC., a New York
corporation,

Defendant.

 

 

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CLASS AC'I`ION COMPLAI

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JURY TRIAL DEMANI)EI)
Trial Date: None Set

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CLASS ACTION COMPLAINT

 

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Plaintii`i`s Estate of Robert Graliam; Chuclc Close; Laddie §ohn Dill
(“Plaintiffs”);, individually and on behalf of all others similarly situated allege as-
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_ INTRODUCTION

l. Th`_is class action lawsuit targets the Willful and systematic violation by
defendant Sotheby’s of its California law obligation to pay royalties to U.S. artists
and their estates en artworl<s sold either in'Caiii`ornia or at auction by California
sellers. To redress Sotheby’s denial of rights to artists and estates under California’s
“Resale Royalties Act,” the plaintiff class herein seeks(i) the payment of all
royalties due but not paid under that Act throughout the class periods (as set forth in
the class definitions beloW), together With interest thereon, (i_i) the imposition of
punitive damages for Sotheby’s intentional election to flout the lavv, and (iii) the
issuance of appropriate injunctive and declaratory relief to ensure Sotheby’s
complies With its obligations under the Resale Royalties Act for all future auctions
involving Calii`ornia sellers, and for all`tuture sales that take place in California.

PARTIES .

2.` Plaintii`f Estate of Robert Graharn is the heir, legatee and/er personal
representative of artist Robert Graharn, and has its principal place of business in Los
Angeles County, California. 7 _ l

3. ' Plaintifi` Chuck Close is an artist living in the state of Ner Yorl<.

4.' Plaintiff Laddie iohn Dill is an artist living in Los Angeles County,
_California.

5. Defendant Sotheby’s, inc. is a corporation`organized and existing under

' and by virtue of the laws of the State ofNeW Yorl<, having its principal place of

business in NeW York, and an additional presence in the County of Los Angeles.

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CLASS ACTION COMPLAINT

 

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g JURISDICTION AND VENUE
6. The Court has subject matter jurisdiction pursuant to 28 U.S.C. §
1332(d)(2), as the amount in controversy exceeds $5 million and many Class
members are citizens cfa state different frorn Defendant.
l 7. This court has.personal jurisdiction over Defendant, which regularly
conducts business in this State.

- 8. Venue is proper within this District and Division pursuant to 28 U.S.C.
§1391(b), because a substantial part of the events and omissions giving rise to the
claims occurred in this District, and because there is personal jurisdiction in this
District over Defendant because it regularly conducts business in this District.

FACTUAL ALLEGATIONS

Sotheby’s Failure to Compiy With California’s Resale Royalties Act

9. Through auctions conducted during the class periods, Sotheby’s sold
and acted as the seller’s agent in connection with the sale of works of Fine Art »~
defined herein as original paintings, drawings9 sculptures and original works of art
in glass, created by U.S. citizen artists -~ on behalf of California sellers In addition
to the foregoing auctions, Sothe‘oy’s sold works of Fine Art through sales - whether
private or otherwise - that took place in California during the class periods

1{). Under Californi.a’s Resale Royalties Act (section 986 of California’s
Civil Code) (the “Act”), Sotheby’s was required to withhold at the tirne of the
auction or sale, and then pay to the artist (or agent or estate thereof) within 90 days,
five percent of the amount of such sales (herein, the “Royalty”). More specifically,
the Act obligated Sotheby’s to remit the Royalty when it sold the Fine Art (i) “at an
auction” and/or (ii) when otherwise serving as the “seller’s agent.” v

11. Sotheby’s failed and refused to pay the Royalty owed to the plaintiffs
and class members and also failed and refused to apprise plaintiffs and class

members when a Fine Art' sale occurred that would entitle class members to the

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CLASS AC'I`ION COMPLAINT

 

 

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Royalty due.` (Nor did Sotheby’s, as required by the Act »» where “unable to locate
and pay the artist within 90 days” -» transfer the amount of the Royalty to
California’s Art Council, for deposit ‘°in an account in the Special Deposit Fund in
the State Treasury.”)

12. Worse still, Sotheby’s affirmatively engaged in a pattern of conduct
intended to conceal from plaintiffs and class members those circumstances in which
a Fine Art sale ~ because it involved a California resident seller, or because the sale
took place in California - entitled plaintiffs and class members to a Royalty.
Sotheby’s custom andpractice is to conceal the fact of a seller’s California
residency, or the fact that a sale took place in California, from communications with
the public concerning auctions and sales of Fine Art. By way of several examples
Sotheby’s, auction catalogs generally conceal from the reader the state`of residency
of a seller of Fine Arts, and Sotheby’s will refuse - upon inquiry - to reveal said
information None of these practices is necessary to maintain the anonymity cfa
seller of Fine Art,- since Sotheby’s could - but refuses to - identify the state of
residency (an`d not the identity) of a Fine Art seller, or could otherwise denote bythe
inclusion of a symbol in its catalog materials (as Sotheby’s does for other
circumstances) that the lot is one for which the artist will be entitled to the Royalty
due under C_alifornia law. Siinilarly, Sotheby’s conceals information from the
public that would enable a reader to learn whether a non-auction sale of Fine A.rt
took place in California.

l3. Sotheby’s, by engaging in the aforesaid practices, has successfully
styrnied and prevented plaintiffs and the class members from reasonably discovering
the occurrence of auctions and sales for which a Royalty was due. Only Sotheby’s,
through information it secretly maintains possesses the knowledge to determine

which auctions and sales of Fine Art are ones for which a Royalty is due.

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CLASS ACTION COMPLAINT

 

 

 

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Auction Sales Where Sotheby’s Failed to Pay Royalties to Plaintiffs

14. On information and belief, plaintiffs allege that they are each owed

Royalties in connection with the sale of works of Fine Art by So'theby’s. However,
because of Sotheby’s acts of concealment, Plaintiffs at this time can only surmise

the total amount of Royalties owed to them.

15. As a consequence of Sotheby’s violations of the foregoing legal

obligations the plaintiffs and class members have not received the Royalty due to

them in`connection with theresale of their works of Fine Art.

CLASS ALLI§GATIONS

16. As the Act permits an c‘action for damages within three years alter the

(l.)

(2)

date of sale or one year after the discovery of the sale, whichever is longer”_ (Civil

Code' section 986(a)(3)), the plaintiff Class herein shall be divided as follows:

Ali Artists - and the E_states of such Artists - who created awork_
of Fine Art for which a Royalty was not paid when a California
resident sold the artwork at an auction organized or conducted by
Sotheby’s, or when the sale took place in California, within three l `
years of the filing of this action.
All Arti_sts »~' and the Estates of such Artists z who created a work v
of Fine Art for which a Royalty was not paid when a California
resident sold the artworl<: at an auction organized or conducted by
Sotheby’s, or when the sale took place in California, three or
more years before the filing of this action, but for which
Sotheby’s never disclosed in any auction catalog or other writing
to the Artist that the seller was a California resident or that the

sale took place in California.

in defining the foregoing classes:

‘.‘Artist” shall mean a person who created a work of Fine Art and who, at

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CLASS ACTION COMPLAI`NT

 

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the time of resale, was a citizen of the United States, or had resided in j
` California for two or more years l
- “Estates” shall mean the heirs, legatees', and/or personal representatives of
an Artist who died no more than twenty years prior to the filing of this
action; and

- l “Fine` Art” shall mean an original painting, sculpture, or drawing, or an

original work of art in glass, and shall exclude (a) the initial sale of such
work where legal title is vested in the artist thereof; (b) the resale of suchl
work for a gross sales price of (or consideration of other artworks, cash _
and/or property that amounts to) less than one thousand dollars ($1,000);
(c) the resale of such work for a gross sales price less than the purchase
price paid by the seller; (d) the resale of such work by- an art dealer within
l(}` years of the initial sale of the work by the artist to an art dealer,
provided all intervening resales were between art dealers; and (e) any work
of stained glass artistry that has been permanently attached to real property

_ and sold as part of the sale of said real property

l7. Excluded from the Class are Defendant, Defendant’s officers directors
and employees and the Court and its immediate family members

18. Plaintiffs reserve the right to' amend or otherwise alter the class
definition presented to the Court at the appropriate time, or to propose sub classes 111
response to facts learned through discovery or legal arguments advanced by
l)efendant or otherwise l _

19. This action has been brought and may be properly maintained as a class
action pursuant to the provisions of Fedcral Rule of Civil Procedure 23 and other
applicable law.

20. - Numerosity:\ The Class is so numerous that the individual joinder of all

members thereof is impracticable under the circumstances of this case. Whilc the

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exact number ol" Class members is unknown at this time, Plaintiffs are informed and
believe that the proposed Class consists of at least several hundred members
2l. Comrnonality: Common questions of law or fact are shared by Class
members This action is suitable for class treatment, because these common
questions of fact and law predominate over any individual issues Such common
questions include, but are not limited to, the following:
(a) Whether Defendant violated the Act by failing to pay Royalties
to Plaintiffs and Class members; l
(bj Whether Plaintift`s and Class members are entitled to damages;
(c). Whether Plairitiffs and Class members are entitled to punitive
damages due to Defendant’s willful violations of the Act; and
(d) Whether Plaintifi`s and Class members are entitled to injunctive `
relief to insure Defendant’s compliance with the Act prospectively
22. rl`ypicalityi Plaintiffs’ claims are typical of the claims of absent Class
members Plaintii`fs and the other Class members were subjected to the same kind
of unlawful conduct (Defendant’s failure to pay Royalties under the Act) and the
claims of Plaintifl:`s and the other Class members are based on the same legal
theories l
23. Adequacy: Plaintiffs are adequate representatives of the Class because
their interests do not conilict with the interests of the other members of the Class
that Plaintiffs seek to represent Plaintiffs have retained counsel competent and
experienced in complex class action litigation and Plaintiffs intend on prosecuting
this action vigorously "l`he interests of Class members will be fairly and adequately
protected by Plaintift`s and their counsel
24. Ascertainable Class: The proposed Class is ascertainable in that the
members can be identified and located using information contained in Defendant’s

records

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25. Superiority and Substantial Benefit: A-class action is superior to other
available means for the fair and efficient adjudication of Plaintiffs’ and Class
members’ claims The damages suffered by each individual Class member may be
limited Given the burden and expense of individual prosecution of the claims at
issue, it would be virtually impossible for all Class members to redress the wrongs
done to them on an individual basis Even if members of the Class could afford
such individual litigation, the court system could not. Individualized litigation
increases the delay and expense to all parties and the court -system, due to the
complex legal and factual issues of the case. By contrast, the class action device
presents far fewer management difficulties and provides the benefits of single
adjudication,_ economy of scale, and comprehensive supervision by a single court

FIRST CAUSE or Ac'rtoN
Violation of California’s Resale Royalties_`Act (“Act”) 1
Civil Code § 986 _

26. Plaintiffs incorporate all preceding paragraphs as if fully set forth
herein l `

27. Sotheby’ s violated California Civil Code section 986 by failing and
refusing to pay Royalties due to U. S artists and their estates l

28. ` More specifically, throughout the class periods (as- set forth in the
accompanying class detinitions), Sotheby’s sold works of Fine Art both (i) in
California and (ii) at auction by California sellers

29. in connection with such sales, Sotheby’s failed and refused to pay the
Royalties due to (i) those artists who, at the time of resale, were citizens of the
United States, or had resided in California for two or more years, or (ii) to the heirs,
legatees and/or personal representatives of such artists who died twenty years (or

fewer) prior to the filing of this action.

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3'0. Sotheby’s made no meaningful effort to locate any artists -» or the heirs,
legatees and/or personal or representatives of such artists -~ to whom Royalties.were
owed. l

31. So'theby’s also failed, in connection with such sales, to transfer to the
California Arts Council the amounts of such Royalties otherwise due to the artists

32. Plaintiffs and Class members are entitled to the recovery of all
Royalties, together with interest thereon, arising from the sale of their works of fine
art; to an award of punitive damages; to their costs of suit, including reasonable
attorney’s fees incurred herein; and to such other and further relief as may be
deemed proper to address Sotheby’s denial of rights to artists and estates under
California’s “Resale Royalties Ac_t.”

SECON}) CAUSE OF ACTION
Violation of California’s Unfair Competition Law (“UCL”)
sua & Pror. C@de §§ 17200, er s¢q.

33. Plaintiffs incorporate all`preceding paragraphs as if fully set forth
herein.

34. Plaintiffs bring this cause of action on behalf of themselves and on
behalf of the Class members against Sotheby s for its unlawful and/or unfair
business acts and/or practices pursuant to the UCL, which prohibits all such acts
and/or practices

35. Plaintiffs assert these claims as they are representatives of an aggrieved
group whose funds Sotheby’s has unlawfully retained and which hinds Sotheby’s
should be required to pay under the UCL’s restitutionary remedy

36. The instant claim is predicated on Sotheby’s willful failure to comply
with the Act. _ '

37. By engaging in the above-described acts and practices Sotheby’s has

committed one or more acts of unfair competition within the meaning of UCL.

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38. Sotheby"`s misconduct, as alleged herein, gave it an unfair competitive
advantage over those of its competitors who comply with-the Act. l
l 39. Unlawful: 'l`he unlawful acts and practices of_Sotheby’s alleged above
constitute unlawful business acts and/or practices within the meaning of UCL.

Sotheby’s unlawful business acts and/or practices as alleged herein violated
California Civil Code § 986. l

40. Unfair: Sotheby’s misconduct as alleged herein was unfair because it
offends established public policy or is immoral, unethical, oppressive, unscrupulous
or substantially injurious to consumers

41. Sotheby’s misconduct as alleged herein was unfair because (i) it caused
Plaintiffs and class members substantial injury by, among other things, depriving
them of Royalties to which they were lawfully entitled for works of Fine Art that
they created, (ii) there were absolutely no countervailing benefits to Artists or to
competition that could possibly outweigh this substantial injury, and (iii) this injury
could not have been avoided or even discovered by the Artists, because it resulted
from Sotheby’s failure to comply with the Act by locating and paying to Artists the
pay Royalties due to them, and Sotheby’s concealment of the residences of the
sellers or the locations of sales. 'I`hus, Sotheby’s acts and/or practices as alleged
herein were unfair within the meaning of the UCL.

42. As a direct and proximate result of the aforementioned-unlawful and
unfair practices, Sotheby’s has deprived Plaintiffs and class members of the
Royalties to which they are entitled under California law.

43. As a direct and proximate result of the aforementioned unlawful and
unfair practices, Sotheby’s retained, and continues to hold, monies that rightfully
belong to Plaintiffs and class members

44. As a direct and proximate result of the aforementioned unlawful and

unfair practices, Plaintiffs and class members suffered substantial monetary losses

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and are entitled to restitution for the losses Plaintiffs and class members are direct
victims of Sotheby’s unlawful conduct, and each has suffered injury in fact, and has
lost money or property as a result of Sotheby’s unfair competition

45. The unlawful and unfair business practices of Sotheby’s, as fully
described herein, present a continuing threat to members of the public, as Sotheby’s l
continues to fail to pay Royalties as required by the Act, as described herein.
Plaintiffs and other members of the general public have no other remedy of law that
will prevent Sotheby’s misconduct as alleged'herein from occurring and/or
reoccurring in the future. l

46. Plaintiffs and Class members are entitled to equitable relief, including
restitution; restitutionary disgorgement of sums acquired by Sotheby’s because of its
unlawful and unfair acts and/or practices; attorney’s fees and costs; declaratory
relief; and a permanent injunction enjoining lSotheby’s from engaging in the
wrongful activity alleged herein.

` _ PRAYER ron RELIEF k

WHEREFORE, Piaintiffs pray for judgment as follows:

l. For compensatory damages consisting of all royalties, together with
interest, owed to the classes. _

2. For disgorgement, restitution and/or rescission to return to the classes

all royalties belonging to said classes

3. For an award of punitive damages
4. For costs of suit, including attorney’s fees herein incurred
5. For a permanent injunction enjoining the unlawful and unfair activity
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l 6. For such other and further relief as the court may deem proper.
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3_ DATED: Octoberl"/, 2011 ` BROWNE GEORGE ROSS LLP _
j _ ‘ Er`ic l\/l. George
4 -l\/lichael A. Bowse
5 Ira Bibbero _
Peter Shimamoto
6 { \ 7 k _
8 Eric l\/I. George
9 Attorneys for Plaintiffs
- Estate of Robert Graham; Chuck Ciose; Laddie
10 .lohn Dill and All Others Similarly Situ`ated
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l ‘ l)EMANl) FOR .]URY TRIAL

2 Plaintiffs hereby demand a trial by jury to the full extent permitted by law.

3 ' ' ‘

4 DA'I`ED: October 17, 2011 ' BROWNE GEORGE ROSS LLP

_ Eric M_. George
5 Michael A. Bowse
6 lra Bibbero
Pe_ter Shimarnoto '

7 .
. 8 BY - {("‘*’C-# (\/\&

9 ' Eric M. George
10 Attorneys for Plaintiffs l ` -

Estate of Robert Graham; Chuck Clo_se; Laddie
11 John Dill and All Others Snnilarly Situated
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